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        Attorneys for Plaintiffs PureCircle
   14   USA Inc. and PureCircle Sdn Bhd
   15                        UNITED STATES DISTRICT COURT
   16                      CENTRAL DISTRICT OF CALIFORNIA
   17                                SOUTHERN DIVISION
   18   PURECIRCLE USA INC. and                       CASE NO. 8:18-CV-01679-JVS-JDE
        PURECIRCLE SDN BHD,
   19                                                DECLARATION OF STUART E.
                             Plaintiffs,             POLLACK IN SUPPORT OF
   20                                                PURECIRCLE'S MEMORANDUM
                                                     OF POINTS AND AUTHORITIES
   21                                                IN OPPOSITION TO SWEEGEN'S
              v.                                     MOTION FOR PARTIAL
   22                                                SUMMARY JUDGMENT OF
        SWEEGEN, INC. and PHYTO TECH                 INVALIDITY AND CROSS-
   23                                                MOTION FOR SUMMARY
        CORP. d/b/a BLUE CALIFORNIA,                 JUDGMENT ON WRITTEN
   24                                                DESCRIPTION
                             Defendants.
   25                                                Date:     April 11, 2022
                                                     Time:     1:30 p.m.
   26                                                Room:     10C
                                                     Judge:    The Hon. James V. Selna
   27
   28
         DECLARATION OF STUART E. POLLACK IN SUPPORT OF PURECIRCLE'S OPPOSITION TO SWEEGEN'S
          MOTION FOR PARTIAL SUMMARY JUDGMENT AND CROSS-MOTION FOR SUMMARY JUDGEMENT
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    1         I, Stuart E. Pollack, declare:
    2         1.      I am a partner with the law firm Kilpatrick Townsend & Stockton LLP,
    3   counsel for Plaintiffs PureCircle USA Inc. and PureCircle SDN BHD (collectively,
    4   "PureCircle") in this case. I have personal knowledge of the facts set forth in this
    5   declaration and, if called as a witness, could and would testify competently to these
    6   facts under oath.
    7         2.      Attached as Exhibit 1 is a true and correct copy of U.S. Patent No.
    8   9,243,273, dated January 26, 2016.
    9         3.      Attached as Exhibit 2 is a true and correct copy of U.S. Patent No.
   10   10,485,257, dated November 26, 2019.
   11         4.      Attached as Exhibit 3 is a true and correct copy of SweeGen, Inc. v.
   12   PureCircle USA Inc., PGR2020-00070, Paper 14 Non-Institution Decision ("PGR
   13   Decision").
   14         5.      Attached as Exhibit 4 is a true and correct copy of excerpts from the
   15   Expert Report and Declaration Regarding Infringement & Other Issues of Professor
   16   J. Martin Bollinger, Jr., Ph.D., dated November 10, 2021.
   17         6.      Attached as Exhibit 5 is a true and correct copy of excerpts from the
   18   Rebuttal Expert Report Regarding Validity& Other Issues of Professor J. Martin
   19   Bollinger, Jr., Ph.D., dated December 8, 2021.
   20         7.      Attached as Exhibit 6 is a true and correct copy of excerpts from Reply
   21   Expert Report Regarding Infringement & Other Issues of Professor J. Martin
   22   Bollinger, Jr., Ph.D., dated January 10, 2022.
   23         8.      Attached as Exhibit 7 is a true and correct copy of excerpts from the
   24   deposition of Dr. J. Martin Bollinger, taken on January 21 and January 22, 2022.
   25         9.      Attached as Exhibit 8 is a true and correct copy of excerpts from the
   26   Expert Report of Jacquelyn Gervay Hague, dated November 10, 2021.
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   28      DECLARATION OF STUART POLLACK IN SUPPORT OF PURECIRCLE'S OPPOSITION TO SWEEGEN'S
           MOTION FOR PARTIAL SUMMARY JUDGMENT AND CROSS-MOTION FOR SUMMARY JUDGEMENT
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    1         10.   Attached as Exhibit 9 is a true and correct copy of excerpts from the
    2   Reply Expert Report of Jacquelyn Gervay Hague, dated January 10, 2022.
    3         11.   Attached as Exhibit 10 is a true and correct copy of excerpts from the
    4   deposition of Jacquelyn Gervay Hague, Ph.D., taken on January 25, 2022.
    5         12.   Attached as Exhibit 11 is a true and correct copy of excerpts from the
    6   deposition of Oliver Yu taken on January 26, 2022.
    7         13.   Attached as Exhibit 12 is a true and correct copy of the Application to
    8   Amend the Specifications for Rebaudioside M Under Australia and New Zealand
    9   Food Standards Code – Standard 1.3.1-Food Additives (Dep. Ex. 612).
   10         14.   Attached as Exhibit 13 is a true and correct copy of the Original Claims
   11   filed in PCT US 2013/030439 on March 12, 2013.
   12         15.   Attached as Exhibit 14 is a true and correct copy of U.S. App. No.
   13   14/469,076, 10/27/2015 Response to Office Action.
   14         16.   Attached as Exhibit 15 is a true and correct copy of U.S. App. No.
   15   14/469,076, 11/27/2015 Notice of Allowance.
   16
   17         I declare under penalty of perjury that the foregoing is true and correct.
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   19         Executed on March 14, 2022, in New York, New York.
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   21                                          /s/ Stuart E. Pollack
   22                                          Stuart E. Pollack

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   28      DECLARATION OF STUART POLLACK IN SUPPORT OF PURECIRCLE'S OPPOSITION TO SWEEGEN'S
           MOTION FOR PARTIAL SUMMARY JUDGMENT AND CROSS-MOTION FOR SUMMARY JUDGEMENT
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